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 1                                                     THE HONORABLE JOHN H. CHUN

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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

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 9                                                    CASE NO.: 2:23-cv-01495-JHC
     FEDERAL TRADE COMMISSION, et al.,
10                                                    PLAINTIFFS’ OPPOSITION TO
                     Plaintiffs,                      AMAZON’S MOTION TO
11                                                    DISMISS
                v.
12                                                    NOTE ON MOTION CALENDAR:
     AMAZON.COM, INC., a corporation,                 March 22, 2024
13
                     Defendant.                       ORAL ARGUMENT REQUESTED
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 1                                           INTRODUCTION

 2          Despite Amazon’s attempt to rewrite it, Plaintiffs’ Complaint tells a straightforward story

 3 of illegal conduct. It lays out how Amazon is a monopolist and explains how Amazon unlawfully

 4 maintains its monopoly power, enriching itself while harming its customers. Amazon employs

 5 various anticompetitive tactics to prevent third-party sellers and rivals from discounting and

 6 coerces sellers into using Amazon’s services to fulfill orders, all of which works together to impede

 7 free and fair competition. Collectively, Amazon’s tactics deny rivals the scale that its founder Jeff

 8 Bezos recognized is “necessary to succeed.” With rivals foreclosed from gaining scale and

 9 competing, Amazon is free to exploit its monopoly power. For example, Amazon has steadily

10 hiked the fees it charges sellers—now taking close to half of every dollar from the typical seller

11 that uses Amazon’s fulfillment services—while also degrading its search results and extracting

12 over a billion dollars from shoppers through a secret algorithm that quietly raises prices. Though

13 Amazon claims its tactics are “procompetitive,” the Complaint’s well-pleaded facts demonstrate

14 classic illegal monopoly behavior.

15          Plaintiffs bring this action on behalf of the American public, seeking to end and remedy

16 Amazon’s violations of Section 5 of the FTC Act, Section 2 of the Sherman Act, and state

17 competition and consumer protection laws. Amazon’s motion to dismiss this action rests primarily

18 on distortions of Plaintiffs’ Complaint, repeatedly mischaracterizing its allegations and asserting

19 different facts.

20          First, the Complaint pleads that Amazon has unlawfully maintained monopolies through

21 conduct whose collective anticompetitive effect is greater than the sum of its parts. Plaintiffs allege

22 that Amazon’s tactics are part of an interconnected and mutually reinforcing strategy to unlawfully

23 maintain its monopolies—and that feedback loops in the relevant markets amplify the cumulative

24 impact of Amazon’s unlawful behavior. The law is clear that such a course of conduct must be
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 1 assessed holistically. Amazon’s motion fails because it focuses on individual acts in isolation,

 2 ignoring the synergistic effect of the challenged conduct. (§ I.A.) Moreover, Amazon’s arguments

 3 characterizing its conduct as “procompetitive” contradict the Complaint’s allegations and cannot

 4 be resolved on a motion to dismiss. (§ I.B.)

 5           Second, the Complaint amply alleges that each aspect of Amazon’s challenged conduct is

 6 anticompetitive, even considered in isolation. Amazon’s anti-discounting tactics suppress price

 7 competition and inflate prices across much of the internet by penalizing sellers that offer lower

 8 prices off Amazon (where Amazon’s hefty seller fees do not apply) and disciplining rivals from

 9 undercutting Amazon’s prices. (§ II.A.) Amazon also coerces sellers into using its fulfillment

10 services, raising sellers’ costs of selling on multiple marketplaces and thereby depriving rival

11 marketplaces of scale. (§ II.B.) Preventing discounts and creating barriers to competition, as the

12 Complaint alleges, are not “facially procompetitive,” as Amazon contends, but rather prevent

13 Amazon’s rivals from gaining the scale necessary to challenge Amazon’s monopolies.

14           Third, the FTC properly asserts claims under the FTC Act, which is broader in scope than

15 the Sherman Act. (§ III.) Ninth Circuit precedent forecloses Amazon’s position that this is not a

16 “proper case” under Section 13(b) of the FTC Act. And the detailed allegations that Amazon’s

17 conduct is likely to recur undercut Amazon’s assertion that one of the FTC’s claims is “untimely.”

18 (§ IV.)

19           Fourth, the state law claims are well-pleaded. Amazon’s arguments to the contrary rest on

20 multiple misunderstandings of these States’ laws and their claims. (§ V.)

21           Plaintiffs seek to end Amazon’s monopoly maintenance scheme, restore the competition

22 Amazon has quashed, and prevent a recurrence of Amazon’s illegal behavior. Amazon cannot

23 re-write Plaintiffs’ well-pleaded Complaint. Its motion to dismiss should be denied.

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 1                                      FACTUAL BACKGROUND

 2            Amazon monopolizes two distinct yet related markets: the online superstore market and

 3 the online marketplace services market. Online superstores provide shoppers with a unique

 4 offering: a single destination for purchases across an expansive variety of goods, reducing the time

 5 and effort expended while shopping. (¶¶ 117-83.) 1 Meanwhile, online marketplaces offer a distinct

 6 set of services to businesses that wish to sell goods directly to shoppers: access to an established

 7 customer base and an interface that facilitates product discovery and sales. (¶¶ 184-208.)

 8            Economies of scale are critical to these markets. As Mr. Bezos has explained, to “build an

 9 important and lasting company . . . online in e-commerce . . . you have to have a scale business,”

10 because “[t]his kind of business isn’t going to work in small volumes.” (¶¶ 10, 177, 206-17.) But

11 Amazon’s scheme aims to keep rivals from gaining the scale needed to compete effectively against

12 Amazon. (¶¶ 12, 36.)

13            Amazon prevents rivals from gaining scale in multiple ways, including by blocking price

14 competition. (¶¶ 262-324.) Using an army of web crawlers to monitor prices charged elsewhere

15 online, Amazon prevents third-party sellers from discounting below their prices on Amazon.

16 (¶¶ 262-63, 362.) When Amazon’s surveillance network finds a lower price elsewhere for a

17 third-party seller’s product, Amazon punishes the seller. For example, Amazon takes away a

18 crucial source of sales—the “Buy Box” from which a shopper can “Add to Cart” or “Buy Now.”

19 (¶¶ 83-85, 269, 277.) Nearly 98% of Amazon sales are made through the Buy Box and, as Amazon

20 recognizes, excluding a seller from the Buy Box causes that seller’s sales to “tank.” (¶¶ 85-89,

21 284.) Meanwhile, Amazon charges its sellers ever-increasing fees, which sellers account for in

22 their product prices, forcing them to use their inflated Amazon prices as a price floor elsewhere.

23

24   1
         “¶” refers to the corresponding paragraph in the Complaint (Dkt. #114).
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 1 (¶¶ 72-73, 251, 306-08.) Sellers cannot simply abandon Amazon altogether, because sellers need

 2 access to a large customer base (¶ 212) and Amazon’s marketplace has five times the sales of the

 3 next largest marketplace (¶ 205).

 4          Amazon also suppresses price competition by algorithmically disciplining rivals that offer

 5 prices lower than Amazon’s first-party product listings. (¶¶ 325-37.) Amazon deems setting its

 6 own prices lower than those of its rivals to be “heretical” and instead relentlessly follows rivals’

 7 prices up or down, over and over, teaching rivals that they cannot gain business by undercutting

 8 Amazon’s prices. (¶¶ 326-32.) As Amazon’s leadership has observed, this strategy has the purpose

 9 and effect of deterring rivals from discounting. (¶¶ 326-28.) Rivals quickly learn they cannot gain

10 share through lower prices, discounts, and promotions. (¶¶ 330-50.) In short, Amazon’s tactic

11 freezes price competition. (¶¶ 22, 330.)

12          Amazon further blocks rivals from gaining scale through its fulfillment conduct. Amazon

13 coerces sellers into using its fulfillment service, Fulfillment by Amazon (“FBA”), by conditioning

14 Prime eligibility—which can triple a product’s sales on Amazon (¶¶ 361-74)—on the use of FBA.

15 (¶¶ 351-52.) FBA, however, serves only Amazon sales (¶ 388), forcing sellers who use it to either

16 fulfill orders themselves or add a second fulfillment service to sell on rival marketplaces.

17 (¶¶ 364-74.) By forcing sellers to use FBA for Prime-eligible orders, Amazon adds costs for sellers

18 that they would not incur if they could use a single fulfillment service to sell both on and off

19 Amazon. (¶¶ 375-91.) Amazon’s coercion also deprives independent fulfillment providers of the

20 opportunity to compete for the large volume of Prime-eligible orders, keeping them artificially

21 small in a business where scale is important. (¶¶ 384-85, 392-94.) Sellers who wish to operate

22 across multiple online stores must inefficiently split their inventory and, in some cases, use

23 artificially small fulfillment providers, which limits rival marketplaces’ ability to attract sellers

24 and stunts their growth. (¶¶ 368-69, 384-89, 395-96.)
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 1          Amazon has also raised prices directly with another algorithm—codenamed “Project

 2 Nessie”—that studied other retailers’ pricing algorithms and predicted when they would follow

 3 Amazon’s price hikes. (¶¶ 419-20.) Amazon used Project Nessie to raise its own prices and induce

 4 rivals to follow. (¶ 420.) Amazon estimated that this algorithm increased Amazon’s profits by a

 5 billion dollars within three years. (¶ 423.)

 6          Amazon’s interconnected course of conduct artificially keeps sellers and shoppers on

 7 Amazon and away from Amazon’s competitors. And because feedback loops in the relevant

 8 markets amplify the cumulative effect of anticompetitive tactics, Amazon’s conduct creates a

 9 self-reinforcing cycle of dominance and harm. (¶¶ 209-27, 410-15.) Overall, Amazon’s scheme

10 prevents rivals from gaining the scale needed to meaningfully compete against Amazon and

11 challenge its monopolies, inflating prices and degrading quality for both shoppers and sellers.

12 (¶¶ 433-41.)

13                                      STANDARD OF REVIEW

14          A complaint “does not need detailed factual allegations,” Bell Atl. Corp. v. Twombly,

15 550 U.S. 544, 555 (2007), but “must contain sufficient factual matter, accepted as true, to state a

16 claim to relief that is plausible on its face,” Lacey v. Maricopa Cnty., 693 F.3d 896, 911 (9th Cir.

17 2012) (en banc) (cleaned up). Furthermore, “Rule 12(b)(6) may not be used to challenge specific

18 allegations in a complaint.” Fairhaven Health, LLC v. BioOrigyn, LLC, 2021 WL 5987023, at *5

19 (W.D. Wash. Dec. 17, 2021). In other words, “a motion to dismiss under Rule 12(b)(6) doesn’t

20 permit piecemeal dismissals of parts of claims; the question at this stage is simply whether the

21 complaint includes factual allegations that state a plausible claim for relief.” Id. (cleaned up).

22                                             ARGUMENT

23          Plaintiffs challenge Amazon’s monopoly maintenance and unfair methods of competition

24 under Section 2 of the Sherman Act, 15 U.S.C. § 2 (Counts I, II, V, and VI), Section 5 of the FTC
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 1 Act, 15 U.S.C. § 45(a) 2 (Counts III and IV), and state laws (Counts VII-XX). For the reasons

 2 below, Amazon’s arguments do not warrant dismissal of any of Plaintiffs’ claims.

 3 I.       THE COMPLAINT PLAUSIBLY ALLEGES AN ANTICOMPETITIVE COURSE

 4          OF CONDUCT.

 5          “A Section 2 monopolization claim ‘has two elements: (1) the possession of monopoly

 6 power in the relevant market and (2) the willful acquisition or maintenance of that power as

 7 distinguished from growth or development as a consequence of a superior product, business

 8 acumen, or historic accident.’” Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 998 (9th Cir. 2023)

 9 (quoting United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966)). Amazon does not contest

10 either element with respect to Plaintiffs’ overall course of conduct allegations, which alone

11 prevents dismissal of Plaintiffs’ monopolization claims. (§ I.A.) Instead, Amazon resorts to

12 characterizing its conduct as “procompetitive”—an affirmative defense that cannot be resolved on

13 a motion to dismiss. (§ I.B.)

14          A. Amazon’s conduct must be assessed holistically.

15          Amazon does not contest that Plaintiffs have adequately pleaded monopoly power. (Motion

16 to Dismiss, Dkt. # 127 (“Mot.”) at 1 n.1, 7-8.) To satisfy the second element of a Section 2

17 monopolization claim, a plaintiff “must show that the defendant acquired or maintained its

18 monopoly through anticompetitive conduct.” Epic Games, 67 F.4th at 998 (cleaned up).

19 Anticompetitive conduct consists of acts that “tend[] to impair the opportunities of rivals” and

20 “do[] not further competition on the merits or do[] so in an unnecessarily restrictive way.” Cascade

21 Health Sols. v. PeaceHealth, 515 F.3d 883, 894 (9th Cir. 2008). Monopolists have “myriad”

22

23   2
    Section 5 of the FTC Act prohibits “[u]nfair methods of competition in or affecting commerce.”
   15 U.S.C. § 45(a). Unfair methods of competition include, but are not limited to, practices that
24 violate the Sherman Act. FTC v. Cement Inst., 333 U.S. 683, 694-95 (1948).
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 1 “means of illicit exclusion,” United States v. Microsoft Corp., 253 F.3d 34, 58 (D.C. Cir. 2001)

 2 (en banc) (per curiam); anticompetitive conduct “can come in too many forms, and is too

 3 dependent upon context, for any court or commentator ever to have enumerated all the varieties,”

 4 Caribbean Broad. Sys., Ltd. v. Cable & Wireless PLC, 148 F.3d 1080, 1087 (D.C. Cir. 1998).

 5 “[T]he existence of market power . . . casts an anticompetitive shadow over a party’s practices.”

 6 Epic Games, 67 F.4th at 983 (cleaned up). Indeed, a company possessing monopoly power is

 7 “precluded from employing” even “otherwise lawful practices” when those practices

 8 “unnecessarily exclude[] competition.” Greyhound Comput. Corp. v. IBM Corp., 559 F.2d 488,

 9 498 (9th Cir. 1977). Accordingly, in assessing alleged anticompetitive conduct, “it would not be

10 proper to focus on the specific individual acts of an accused monopolist while refusing to consider

11 their overall combined effect.” City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th

12 Cir. 1992). Instead, a court must always “deal with what has been called the synergistic effect of

13 the mixture of the elements.” Id. (cleaned up).

14          Here, Plaintiffs adequately allege that Amazon has implemented an “overarching strategy”

15 to “keep rivals from gaining the scale needed to compete effectively against Amazon.” (¶ 12.) The

16 Complaint details how rivals cannot grow by competing for shoppers on price due to Amazon’s

17 set of anti-discounting tactics, and how rivals cannot effectively grow by competing for third-party

18 sellers due to both those tactics and Amazon’s “coercive tactics involving its order fulfillment

19 service to prevent rivals from gaining the scale they need to meaningfully compete.” (¶¶ 12, 18.)

20 The various components of Amazon’s scheme work together to perpetuate Amazon’s monopoly

21 position. (See, e.g., ¶¶ 33-34, 257, 260-61, 291-93, 410-15, 445, 451, 467, 474.) These allegations

22 underscore why Amazon’s multipronged scheme cannot “be judged by dismembering it and

23 viewing its separate parts, but only by looking at it as a whole.” Cont’l Ore Co. v. Union Carbide

24 & Carbon Corp., 370 U.S. 690, 699 (1962).
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 1          The “impact of scale and related network effects” in the relevant markets, where “a denial

 2 of scale in one market can make it harder to grow in the other,” further amplify the anticompetitive

 3 effects of Amazon’s conduct. (¶ 210; see also ¶¶ 8-10, 119, 177-83, 206-08, 209-27.) Amazon’s

 4 combined “set of anticompetitive tactics” allows it to “unlawfully deny its rivals access to both

 5 shoppers and sellers, artificially stunting their growth by starving them of the feedback loops

 6 across the relevant markets that would benefit shoppers and sellers alike.” (¶ 227.) Amazon thus

 7 illegally uses its monopoly power “to foreclose competition, to gain a competitive advantage, [and]

 8 to destroy . . . competitor[s].” Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1208

 9 (9th Cir. 1997).

10          Amazon ignores these allegations, segregating the Complaint’s allegations into “three

11 business practices” and arguing that each—considered separately—is “procompetitive” and lacks

12 “anticompetitive effects.” (Mot. 8-15.) While Amazon fails to demonstrate that each category of

13 alleged conduct is not independently anticompetitive (§ II below), its motion also fails to address

14 the overall combined effects of the challenged conduct. Amazon’s compartmentalized analysis

15 cannot justify dismissal of Plaintiffs’ monopoly maintenance claims. See, e.g., Free FreeHand

16 Corp. v. Adobe Sys. Inc., 852 F. Supp. 2d 1171, 1180-84 (N.D. Cal. 2012) (Koh, J.) (relying on

17 City of Anaheim in evaluating the “overall combined effect” of alleged anticompetitive conduct

18 and denying motion to dismiss); Simon & Simon, PC v. Align Tech., Inc., 533 F. Supp. 3d 904,

19 912-20 (N.D. Cal. 2021) (same).

20          B. Amazon’s claims of procompetitive benefits are premature.

21          Rather than engage with Plaintiffs’ detailed, plausible allegations of anticompetitive

22 conduct, Amazon previews its likely affirmative defenses. Amazon’s motion repeatedly

23 contradicts the Complaint’s factual allegations, insisting that the challenged conduct has

24 “legitimate procompetitive rationale[s]” and “procompetitive effects,” including increased
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 1 “consumer appeal” and “lower[] . . . prices.” (E.g., Mot. 2, 12-14; cf., e.g., ¶¶ 433-41.) Amazon

 2 argues that the Complaint must establish that the alleged anticompetitive effects “predominated”

 3 over the purported procompetitive justifications Amazon presents in its motion (Mot. 14), but

 4 “whether the alleged procompetitive benefits of [conduct challenged under the Sherman Act]

 5 outweigh its alleged anticompetitive effects is a factual question that the district court cannot

 6 resolve on the pleadings.” PLS.com, Inc. v. Nat’l Ass’n of Realtors, 32 F.4th 824, 839 (9th Cir.

 7 2022).

 8          Amazon’s arguments about the purported “procompetitive” effects of its conduct—which

 9 repeatedly rely on citations to merits-stage decisions—are therefore “misplaced.” In re eBay Seller

10 Antitrust Litig., 545 F. Supp. 2d 1027, 1033 (N.D. Cal. 2008). While a “procompetitive benefit

11 may rebut a prima facie case,” plaintiffs need only “establish a prima facie case” to survive a

12 motion to dismiss monopolization claims. Id.; see United Food & Com. Workers Local 1776 v.

13 Teikoku Pharma USA, Inc., 74 F. Supp. 3d 1052, 1067 & n.16 (N.D. Cal. 2014) (collecting cases);

14 see also Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001) (reversing dismissal of

15 claims where district court’s decision was “rooted in defendants’ factual assertions”).

16          Applying this standard, four different courts in this District have recently rejected as

17 premature similar arguments from Amazon at the motion to dismiss stage. See Frame-Wilson v.

18 Amazon.com, Inc., 591 F. Supp. 3d 975, 992 (W.D. Wash. 2022) (Jones, J.) (“Amazon’s argument

19 that its pricing provision has procompetitive justifications may be used to rebut Plaintiffs’ claims

20 once a prima facie case has been established, but the Court need not consider such rebuttals on a

21 motion to dismiss.”); De Coster v. Amazon.com, Inc., 2023 WL 372377, at *3 (W.D. Wash. Jan.

22 24, 2023) (Martinez, J.) (“Amazon argues that its policies ‘provide for competitive prices to

23 consumers, rather than for itself’ . . . . To the extent Amazon is asking the Court to construe the

24 facts in an unfavorable light, such is contrary to Rule 12(b)(6) and premature given the
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 1 underdeveloped factual record.”); Floyd v. Amazon.com, Inc., 2023 WL 3891973, at *5 (W.D.

 2 Wash. June 8, 2023) (Coughenour, J.) (“While Defendants assert that the [challenged conduct],

 3 and its subsequent effects, are the result of pro-competitive and anti-counterfeit motivations, the

 4 Court . . . cannot address that countervailing fact at this time.”); Brown v. Amazon.com, Inc.,

 5 2023 WL 5793303, at *4 (W.D. Wash. Sept. 7, 2023) (Chun, J.) (“[T]he Court need not consider

 6 Amazon’s justifications on a motion to dismiss.”). These decisions underscore that considering

 7 Amazon’s asserted justifications would be premature here.

 8 II.      THE COMPLAINT PLAUSIBLY ALLEGES THAT EACH PART OF AMAZON’S

 9          MONOPOLISTIC SCHEME IS ANTICOMPETITIVE.

10          Even setting aside the above deficiencies in Amazon’s arguments, the Complaint amply

11 alleges how each part of Amazon’s monopolistic scheme, considered separately, violates the law.

12 It is enough that each “reasonably appears capable of making a significant contribution to

13 maintaining monopoly power.” Microsoft, 253 F.3d at 79 (cleaned up).

14          A. Amazon stifles price competition.

15          Amazon designed its anti-discounting tactics to deprive rivals of scale and exert control

16 over pricing at rival stores, with the intention of deterring sellers and rivals from lowering prices.

17 (¶¶ 262-65, 316, 328, 365.) For Amazon’s marketplace, when Amazon detects a lower price

18 elsewhere, it punishes third-party sellers by removing their offers from the all-important Buy Box.

19 For Amazon’s first-party sales, Amazon uses an algorithmic pricing strategy designed to deter

20 price competition and “avoid ‘a perfectly competitive market.’” (¶ 327.)

21          Third-Party Sellers. Amazon’s tactics to prevent third-party sellers from offering

22 discounts on other sites are anticompetitive because they foreclose price competition from those

23 sellers elsewhere, such as on marketplaces that charge lower fees. (¶¶ 17, 285.) For certain

24 important sellers, Amazon uses contractual restraints to prevent price competition. (¶¶ 291, 302.)
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 1 For all sellers, Amazon threatens disqualification from the Buy Box—where nearly 98% of

 2 Amazon sales are made—if they offer discounts elsewhere. (¶¶ 85-86, 269, 297.) Amazon further

 3 threatens to bury discounting sellers in its search results or conceal those sellers’ prices, even if a

 4 seller’s price is the best deal available on Amazon. (¶¶ 16, 283.) As a result, the price on Amazon—

 5 which often includes Amazon’s bloated fees—effectively becomes the price floor market-wide.

 6 (¶¶ 17, 309-12.)

 7          Other courts in this District have found similar allegations sufficient to state a Sherman

 8 Act claim, rejecting many of the same arguments Amazon makes here. See Frame-Wilson,

 9 591 F. Supp. 3d at 992; De Coster, 2023 WL 372377, at *3; see also People v. Amazon.com, Inc.,

10 2023 WL 8719823 (Cal. Super. Ct. L.A. Cnty. Mar. 30, 2023) (applying California competition

11 law). These courts and others have recognized that preventing price competition by ensuring price

12 uniformity across providers, as Amazon’s strategy does, can be anticompetitive. See, e.g., Wolfire

13 Games, LLC v. Valve Corp., 2022 WL 1443744, at *3-4 (W.D. Wash. May 6, 2022) (denying

14 motion to dismiss claims that price-parity clauses constituted anticompetitive conduct); United

15 States v. Delta Dental of R.I., 943 F. Supp. 172, 176 (D.R.I. 1996) (price-parity clauses can

16 “produce substantial anticompetitive effects”).

17          Amazon contends its anti-discounting policies are “facially procompetitive” (Mot. 2, 11)

18 because they improve the in-store experience by not featuring “bad deals,” but that assertion is

19 both premature (see § I.B above) and mischaracterizes the Complaint. The Complaint alleges that

20 Amazon penalizes sellers for off-Amazon discounts “even if the [seller’s] offer is the best deal

21 available on Amazon” (¶ 16) and even if the off-Amazon price is only a penny less than the price

22 on Amazon (¶ 277). Hiding the best deal on Amazon from Amazon’s customers merely because a

23 better deal is available elsewhere does not improve the Amazon in-store experience. Amazon’s

24 citations to cases involving steering customers to good deals (Mot. 11-12) are inapposite.
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 1          Amazon’s claim that the Complaint inadequately alleges anticompetitive effects flowing

 2 from its third-party anti-discounting strategies also fails. (Mot. 13-14.) Conduct has an

 3 anticompetitive effect when it “harm[s] the competitive process,” an inquiry which may be

 4 informed by the impact on customers. FTC v. Qualcomm Inc., 969 F.3d 974, 990 (9th Cir. 2020)

 5 (quoting Microsoft, 253 F.3d at 58). Amazon asserts that its policies have “obvious price-reducing

 6 effects” (Mot. 14) and that “the Complaint does not contend otherwise” (Mot. 13). That is plainly

 7 false. The Complaint details how Amazon has nearly doubled its seller fees over the past decade

 8 (¶¶ 34, 252, 308) and requires sellers to charge at least as much off Amazon (where those fees do

 9 not apply) as on Amazon (where sellers must recoup those fees) (¶¶ 17, 309). The “obvious” effect

10 of that requirement, as Amazon was told by sellers, is higher prices on competing sites, not lower

11 prices on Amazon. (E.g., ¶ 300 (seller informing Amazon executive that its anti-discounting

12 policies may “cause us to raise prices in other sales channels in order to keep Amazon offers”).) 3

13          First-Party Pricing Strategy. When Amazon acts as a seller, its use of surveillance and

14 pricing algorithms to deter rivals from offering lower prices constitutes anticompetitive conduct.

15 Amazon uses an “extensive surveillance network” to track prices online and “immediately

16 cop[ies]—but never undercut[s]” other stores’ prices, “automatically increas[ing] its Retail price

17 to copy” other online stores or marketplaces, even if that means higher prices for Amazon

18 shoppers. (¶¶ 325-29.) This strategy is a “game theory approach” (¶ 328) that Amazon devised to

19 teach rivals that it is committed to not let them win share from Amazon by lowering prices. If

20 prices do not affect a rival’s share relative to Amazon, the rival’s incentives to offer lower prices

21
   3
     Amazon’s citation to merits-stage decisions involving a balancing of procompetitive and
22 anticompetitive effects, such as United States v. AT&T Inc., 310 F. Supp. 3d 161 (D.D.C. 2018),
   does not support its position at the pleadings stage. (See § I.B above.) Amazon also cites Brantley
23 v. NBC Universal, Inc., 675 F.3d 1192, 1198 (9th Cir. 2012) (Mot. 14) in support of a
   predominance requirement at the pleading stage, but that case does not even discuss balancing pro-
24 and anti-competitive effects to determine which predominates.
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 1 are diminished, and its incentives to raise prices increase. (¶¶ 330-31.) In the words of a senior

 2 executive, Amazon designed this system deliberately to avoid a “perfectly competitive market” in

 3 which stores undercut each other to win customers. (¶ 327.) When Amazon implemented the

 4 strategy, it predicted that “prices will go up” (¶ 328), and afterward observed that the strategy

 5 “work[ed]” (¶ 332).

 6          Amazon’s strategy uses its monopoly power to eliminate the normal incentives for firms

 7 to compete on price, harming the competitive process. See Neumann v. Reinforced Earth Co.,

 8 786 F.2d 424, 427 (D.C. Cir. 1986) (when a monopolist’s “rivals will be chastened sufficiently to

 9 abandon competitive behavior,” its conduct violates Section 2). The faster and more consistently

10 automatic price matching occurs, the more it reduces price competition. See, e.g., Aaron S. Edlin

11 & Eric R. Emch, The Welfare Losses from Price‐Matching Policies, 47 J. INDUS. ECON. 145, 162

12 (1999) (“It has long been observed that when rivals’ reaction times decrease sufficiently,

13 undercutting becomes unprofitable.”). Amazon estimates it can identify price changes for many

14 products “virtually anywhere on the internet within hours” (¶ 267), allowing its pricing responses

15 to occur “immediately” (¶ 329). Amazon’s tactics discipline price cutters and freeze price

16 competition (¶¶ 21-22, 258), clearly harming the competitive process.

17          Amazon tellingly ignores the Complaint’s detailed allegations that eliminating these

18 incentives was the intended effect of its conduct. (¶¶ 327-32.) A defendant’s intent is “relevant to

19 the question whether the challenged conduct is fairly characterized as ‘exclusionary’ or

20 ‘anticompetitive.’” Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 602 (1985).

21 In a monopolization case, intent evidence “may help the court interpret facts and predict

22 consequences” of the alleged anticompetitive conduct and “understand the likely effect of the

23 monopolist’s conduct.” Chicago Bd. of Trade v. United States, 246 U.S. 231, 238 (1918); see

24 Image Tech. Servs., 125 F.3d at 1211; Greyhound Comput., 559 F.2d at 499.
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 1          Amazon argues that its first-party anti-discounting policy is “facially procompetitive”

 2 (Mot. 9-11) and “conclusively presume[d]” to be procompetitive because it involves above-cost

 3 pricing (Mot. 13) by mischaracterizing the Complaint and applying the law to its preferred facts.

 4 Amazon’s arguments address an imagined predatory pricing claim (which depends on below-cost

 5 pricing), rather than the Complaint’s challenge to Amazon’s use of monopoly power to

 6 automatically and immediately match both price cuts and price increases, with the overarching

 7 goal and effect of eliminating price competition. As the Supreme Court has made clear, whether

 8 prices are above cost (the “price-cost test”) only matters when “a plaintiff seek[s] to establish

 9 competitive injury resulting from a rival’s low prices.” Brooke Grp. Ltd. v. Brown & Williamson

10 Tobacco Corp., 509 U.S. 209, 222 (1993) (emphasis added); see also, e.g., Church & Dwight Co.

11 v. Mayer Lab’ys, Inc., 2011 WL 1225912, at *8-10 (N.D. Cal. Apr. 1, 2011) (“[Brooke Group]

12 line of cases is inapposite” where the relevant claim “is not a predatory pricing claim”). Conduct

13 involving above-cost pricing may be anticompetitive. See, e.g., ZF Meritor, LLC v. Eaton Corp.,

14 696 F.3d 254, 279 (3d Cir. 2012) (Brooke Group did not “overturn decades of other precedent

15 holding that conduct that does not result in below-cost pricing may nevertheless be

16 anticompetitive.”). This is true even if the challenged conduct involves a pricing strategy. See,

17 e.g., Pulse Network, LLC v. Visa, Inc., 30 F.4th 480, 493 (5th Cir. 2022) (Brooke Group

18 inapplicable because plaintiff “isn’t challenging . . . low or below-cost pricing” but rather claims

19 defendant is “manipulating prices in a way that excludes competitors from the market”). Apart

20 from the inapplicable Brooke Group principle (Mot. 13), Amazon does not seriously challenge the

21 sufficiency of the Complaint’s well-pleaded allegations of anticompetitive effect (e.g., ¶¶ 332

22 (Amazon observed its effectiveness), 333-50 (specific instances of stifled price competition)).

23          Moreover, Amazon’s strategy to foreclose price competition from sellers and rivals alike

24 depends on both its first- and third-party anti-discounting strategies, and the price-cost test does
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 1 not apply to just one element of a larger course of conduct. See, e.g., In re Suboxone Antitrust

 2 Litig., 622 F. Supp. 3d 22, 66 (E.D. Pa. 2022) (price-cost test inapplicable where low prices were

 3 “part of a broader and more extensive exclusionary scheme”); see also Pulse Network, 30 F.4th

 4 at 492-93 (declining to apply price-cost test where “artificially deflate[d]” prices were just one part

 5 of an “integrated program” that “raises overall prices for merchants” while “excluding competitors

 6 from the market”). Amazon’s goal of preventing comparison shopping depends on blocking price

 7 competition from both rivals and third-party sellers. (¶ 265.) Because the Complaint alleges several

 8 types of anticompetitive conduct working together to eliminate price competition, the price-cost

 9 test does not apply and cannot support dismissal.

10          B. Amazon’s conditioning of Prime eligibility on use of Amazon’s fulfillment services

11              is anticompetitive.

12          The Complaint sufficiently alleges that Amazon coerces sellers into using its fulfillment

13 services and thereby forecloses competition. Amazon accomplishes this by conditioning Prime

14 eligibility on the use of FBA. (¶¶ 351-53.) Amazon recognizes that “[s]ellers may not have wanted

15 to buy [FBA] but they did so in order to ‘buy increased sales that come with Prime eligibility’”

16 (¶ 361), which regularly triples sellers’ sales (¶¶ 359-60). Absent this policy, “many sellers would

17 prefer to use an independent fulfillment provider” that would allow sellers to seamlessly fulfill

18 orders across multiple online sales channels. (¶ 355.)

19          The Complaint details how this challenged conduct unlawfully maintains Amazon’s

20 monopolies: by conditioning Prime eligibility on FBA use, Amazon raises the costs of selling off

21 Amazon and limits multihoming, as sellers must maintain separate inventory pools and find

22 another fulfillment solution to sell off Amazon. (¶¶ 368-69.) This makes it harder for Amazon’s

23 rivals to attract sellers to their online stores and, in turn, makes it harder for rivals to attract

24 shoppers seeking the wide selection offered by third-party sellers. (¶¶ 364-74.) Amazon’s conduct
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 1 also limits the growth of independent fulfillment providers that could facilitate sellers offering

 2 their goods across multiple marketplaces, thereby preserving Amazon’s monopoly position.

 3 (¶¶ 375-94.)

 4          Courts have long recognized that coercion by a dominant firm to force customers to

 5 purchase unwanted products may be anticompetitive. See, e.g., Eastman Kodak Co. v. Image Tech.

 6 Servs., Inc., 504 U.S. 451, 465, 483 (1992) (Kodak “took exclusionary action to maintain its . . .

 7 monopoly” over repair parts, including by “forc[ing] unwilling consumption” of related repair

 8 services); Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 467-76 (7th Cir. 2020) (monopolist

 9 “engaged in exclusionary conduct forbidden by Section 2” by coercing customers into purchasing

10 related services). This is particularly true when that strategy deprives rivals of the scale they need

11 to compete effectively, including by choking off growth of related products that might support the

12 development of competitors. See, e.g., Microsoft, 253 F.3d at 60, 65-66 (Microsoft maintained its

13 Windows monopoly by coercing customers to use Internet Explorer, thereby “keeping rival

14 browsers from gaining the critical mass of users necessary to attract developer attention away from

15 Windows”).

16          Amazon’s arguments that limiting Prime eligibility is about improving delivery (Mot. 12)

17 and does not produce anticompetitive effects (Mot. 14) again ignore the Complaint’s allegations.

18 Contrary to Amazon’s claims of improved delivery, the Complaint alleges that when sellers were

19 given the chance to enroll in “Seller Fulfilled Prime,” many sellers enrolled, and some chose

20 independent fulfillment providers (¶¶ 398-400) while successfully meeting Amazon’s delivery

21 metrics (¶ 401). Relaxing the FBA requirement for Prime eligibility worried Amazon because, as

22 it said internally, Prime order fulfillment would be an “enabler” for independent fulfillment

23 providers to “get to scale,” which would then benefit “other retailers.” (¶ 402.) Accordingly,

24 Amazon pressed sellers to stop using independent fulfillment providers for Prime-eligible orders.
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 1 (¶¶ 403-05.) Amazon’s attempts to present an alternative explanation for its conduct must fail on

 2 a motion to dismiss. See, e.g., Heck v. Amazon.com, Inc., 2024 WL 248712, at *3 (W.D. Wash.

 3 Jan. 23, 2024).

 4          Amazon’s arguments concerning the anticompetitive effects of its coercion rewrite the law

 5 (inventing a list of pleading requirements) and the facts (mischaracterizing the Complaint and

 6 relying on factual claims not alleged). (Mot 14-15.) Without supporting authority, Amazon claims

 7 that the Complaint must identify a host of details: specific sellers deterred from multihoming, the

 8 fraction of sellers who would multihome, consumer price effects for specific products, and

 9 analogous details for foreclosed fulfillment services. This level of detail is not required. See, e.g.,

10 Erickson v. Pardus, 551 U.S. 89, 93 (2007) (a complaint “need only give the defendant fair notice

11 of what the claim is and the grounds upon which it rests” (cleaned up)); FTC v. Qualcomm Inc.,

12 2017 WL 2774406, at *25 (N.D. Cal. June 26, 2017) (Koh, J.) (“Although FTC has not identified

13 by name any specific competitor that was excluded . . . , the case law does not suggest that this

14 degree of specificity is required at the motion to dismiss stage.”). The Complaint’s allegations that

15 Amazon’s coercion harmed competition are entirely plausible: Amazon itself was concerned that

16 allowing independent providers to fulfill Prime orders would “enable[]” those providers to “get to

17 scale” and help “other retailers.” (¶ 402.)

18          Nor may Amazon revise the well-pleaded facts. Citing its own website, Amazon says the

19 Complaint is “conclusory (and inaccurate)” when it alleges that sellers must use a non-FBA option

20 to fulfill orders from other stores, thereby raising costs for sellers on rival marketplaces. (Mot. 14

21 n.9.) But the Complaint explains that “Sellers cannot use FBA to fulfill orders off Amazon”

22 because doing so requires “pay[ing] an additional fee for a separate Amazon fulfillment service”

23 and Amazon “does not provide custom packaging, [or] standard integration with non-Amazon

24 platforms.” (¶ 388.) Likewise, Amazon suggests, without citation to the Complaint, that “delivery
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 1 incumbents” like UPS, FedEx, and the U.S. Postal Service operate at efficient scale in delivery

 2 services and that this somehow negates the Complaint’s allegations regarding the anticompetitive

 3 effects of denying scale to independent fulfillment providers. (Mot. 3, 15.) Whether or not UPS,

 4 FedEx, and the U.S. Postal Service offer delivery services at large scale, the Complaint explains

 5 how fulfillment services, a critical input for online sales, do not include delivery—only “preparing

 6 items for shipping . . . [including] storing, picking (retrieving from storage), packaging, and

 7 preparing items purchased from online retail stores for delivery.” (¶¶ 109-11.) Amazon’s factual

 8 contentions and unsupported demands for detail do not merit dismissal of Plaintiffs’ claims.

 9 III.     THE COMPLAINT PLAUSIBLY ALLEGES STANDALONE UNFAIR METHOD

10          OF COMPETITION CLAIMS UNDER THE FTC ACT.

11          The Supreme Court has long recognized that the prohibition of “unfair method[s] of

12 competition” in Section 5 of the FTC Act reaches beyond the prohibitions in the Sherman Act.

13 See, e.g., FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 454 (1986); Cement Inst., 333 U.S. at 694

14 (“[T]here are many unfair methods of competition that do not assume the proportions of Sherman

15 Act violations.”). Amazon ignores this well-established principle, arguing that the purported

16 deficiencies in Plaintiffs’ monopolization claims also require dismissal of Count III. (Mot. 15-16.)

17 Amazon’s arguments for dismissal of the monopolization claims fail for the reasons explained

18 above (see §§ I-II), which is justification enough to reject Amazon’s passing argument regarding

19 Count III.

20          Even a failure to adequately plead monopolization claims would not warrant dismissal of

21 claims under Section 5, whose prohibitions extend beyond the Sherman Act. See, e.g., FTC v.

22 Brown Shoe Co., 384 U.S. 316, 320-22 (1966); Qualcomm, 2017 WL 2774406, at *8. Congress

23 “deliberately” used the general term “unfair method of competition” in Section 5 because Congress

24 knew “that [t]here is no limit to human inventiveness in this field; that consequently, a definition
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 1 that fitted practices known to lead towards an unlawful restraint of trade today would not fit

 2 tomorrow’s new inventions in the field.” Cement Inst., 333 U.S. at 708-09 (cleaned up). The

 3 Complaint’s detailed allegations regarding the anticompetitive character of Amazon’s conduct

 4 challenged under Count III suffice to state a standalone unfair method of competition claim. See,

 5 e.g., id. at 713 (pricing system that was “a handy instrument to bring about elimination of any kind

 6 of price competition” violated Section 5); Atl. Refin. Co. v. FTC, 381 U.S. 357, 367-70 (1965)

 7 (coercive actions by powerful oil company against its dealers violated Section 5).

 8          The Complaint also properly states a standalone unfair method of competition claim

 9 regarding Amazon’s Project Nessie (Count IV). Contrary to Amazon’s argument that this claim

10 conflicts with precedent, the Ninth Circuit has concluded that Section 5 reaches strategic pricing

11 practices that can have the effect of maintaining prices at an elevated level. See Boise Cascade

12 Corp. v. FTC, 637 F.2d 573, 575 (9th Cir. 1980); see also E.I. Du Pont de Nemours & Co. v. FTC,

13 729 F.2d 128, 139-40 (2d Cir. 1984) (conduct may be “unfair” if there are “indicia of

14 oppressiveness . . . such as . . . evidence of anticompetitive intent or purpose”); Cement Inst., 333

15 U.S. at 708. Although the court in Boise Cascade reversed an FTC order enjoining manufacturers’

16 use of a particular pricing system, its decision turned on the absence of proof of anticompetitive

17 effects after trial and not—as Amazon suggests—on whether the FTC Act reached the challenged

18 conduct. 637 F.3d at 579-80. Amazon’s citation to cases examining the presence or absence of an

19 agreement on prices in the context of Sherman Act claims (Mot. 18-19) say nothing about the

20 scope of the FTC Act or the FTC’s claim here.

21          The Complaint alleges in detail that Amazon’s Project Nessie pricing algorithm was

22 expressly designed to—and did—result in higher prices for millions of shoppers on both Amazon

23 and other online stores. (¶¶ 419-25.) Amazon’s conduct involves precisely the type of “systematic

24 matching of prices” that, as the Ninth Circuit warned in Boise Cascade, threatens free and fair
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 1 competition. 637 F.2d at 579; see also Zach Y. Brown & Alexander MacKay, Competition in

 2 Pricing Algorithms, 15 AM. ECON. J.: MICROECONOMICS 109, 110 (2023) (“[P]ricing algorithms

 3 can generate supracompetitive prices through novel, non-collusive mechanisms.”).

 4 IV.      THE FTC ACT CLAIMS MAY BE PURSUED IN FEDERAL COURT.

 5          Without basis, Amazon argues that the FTC cannot seek a permanent injunction in federal

 6 court under Section 5 of the FTC Act on a standalone basis without first concluding an

 7 administrative proceeding. (Mot. 16-18.) No such requirement exists. Section 13(b) of the FTC

 8 Act provides that “in proper cases the Commission may seek, and after proper proof, the court may

 9 issue, a permanent injunction.” 15 U.S.C. § 53(b). In FTC v. H.N. Singer, Inc., the Ninth Circuit

10 held that Section 13(b) authorizes “permanent injunctions in proper cases even though the

11 Commission does not contemplate any administrative proceedings.” 668 F.2d 1107, 1111 (9th Cir.

12 1982). The Ninth Circuit long ago rejected the argument that “proper cases” are only routine fraud

13 cases—similar to Amazon’s argument here. See FTC v. Evans Prods. Co., 775 F.2d 1084, 1086

14 (9th Cir. 1985). The court recognized that a “proper case” under Section 13(b) is one involving

15 “violations of any provisions of law enforced by the Commission.” Id. (quoting Singer, 668 F.2d

16 at 1113); see also, e.g., FTC v. Hoyal & Assocs., Inc., 859 F. App’x 117, 120 (9th Cir. 2021) (case

17 against defendants likely to violate law in future was “‘proper case” under Section 13(b)); FTC v.

18 Noland, 2021 WL 4127292, at *17 (D. Ariz. Sept. 9, 2021) (“[A] permanent injunction may issue

19 under § 13(b) without regard to the existence of administrative proceedings.”).

20          The FTC is aware of no court that has dismissed an FTC action for not being a “proper

21 case,” let alone individual claims in an action, as Amazon seeks here. To the contrary, district

22 courts have routinely heard standalone Section 5 cases challenging unfair or deceptive acts or

23 practices, without prior administrative proceedings—even as to issues of first impression. See, e.g.,

24 FTC v. Willms, 2011 WL 4103542 (W.D. Wash. Sept. 13, 2011) (deceptive marketing tactics);
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 1 FTC v. D Squared Sols., LLC, 2003 WL 22881377 (D. Md. Oct. 30, 2003) (first FTC action

 2 alleging that use of computer program to barrage consumers with pop-up ads was unfair). And for

 3 good reason. Amazon’s interpretation of Section 13(b) would require wasteful threshold litigation

 4 about whether a Section 5 claim is sufficiently “well-developed” to be heard in district court,

 5 before any evidence has been presented.

 6          Amazon’s cases do not support its position. Instead, they merely describe procedures the

 7 FTC and courts may follow in circumstances different from those present here. See FTC v. Sperry

 8 & Hutchinson Co., 405 U.S. 233, 249 (1972) (pre-dating Section 13(b), outlining appellate review

 9 standard for administrative order); Atl. Refin. Co., 381 U.S. at 367 (same); FTC v. Food Town

10 Stores, Inc., 539 F.2d 1339, 1341-42 (4th Cir. 1976) (describing standard for issuance of

11 preliminary injunction pending completion of related administrative proceeding). Even in FTC v.

12 Abbott Laboratories, 853 F. Supp. 526, 536 (D.D.C. 1994), the district court allowed a standalone

13 unfair method of competition claim to proceed to trial without the FTC first issuing an opinion

14 addressing the conduct.

15          Amazon’s argument that the FTC’s Project Nessie claim must be dismissed as “untimely”

16 (Mot. 19-20) also fails. Ninth Circuit precedent makes clear that the FTC may seek injunctive

17 relief in federal court when the conduct challenged is “ongoing or likely to recur.” Evans Prods.,

18 775 F.2d at 1087; see also FTC v. Affordable Media, LLC, 179 F.3d 1228, 1237 (9th Cir. 1999);

19 FTC v. Cardiff, 2021 WL 3616071, at *7 (C.D. Cal. June 29, 2021). In fact, “an inference arises

20 from illegal past conduct that future violations may occur.” FTC v. Elec. Payment Sols. of Am.

21 Inc., 2019 WL 4287298, at *9 (D. Ariz. Aug. 28, 2019) (cleaned up). Accordingly, “courts should

22 be wary of a defendant’s termination of illegal conduct when a defendant voluntarily ceases

23 unlawful conduct in anticipation of formal intervention.” Id. (collecting cases).

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 1          Here, the Complaint alleges that Amazon turned “off” Project Nessie during periods of

 2 high public scrutiny of its prices, only to turn the pricing algorithm back on again once public

 3 attention receded. (¶¶ 426-28 (Amazon considered turning Project Nessie on to “recapture the lost

 4 [profit] opportunity” from having temporarily paused it).) Since 2019, when Amazon set aside

 5 Project Nessie amid mounting regulatory scrutiny, Amazon has actively considered turning Nessie

 6 back on, including as recently as 2022. (¶¶ 430-32.) The FTC has thus plausibly alleged that

 7 Amazon’s unlawful conduct is “likely to recur.” Evans Prods., 775 F.2d at 1087.

 8          Courts in this Circuit have recognized that FTC v. Shire ViroPharma, Inc., 917 F.3d 147

 9 (3d Cir. 2019), on which Amazon relies, is an “out-of-circuit case that conflicts with governing

10 Ninth Circuit precedent.” United States v. MyLife.com, Inc., 499 F. Supp. 3d 757, 766 (C.D. Cal.

11 2020); see also Elec. Payment Sols., 2019 WL 4287298, at *9-10 & n.5 (same); FTC v. Adept

12 Mgmt. Inc., 2019 WL 2433193, at *1 (D. Or. June 7, 2019) (same). Here, the Complaint alleges

13 that Amazon paused its challenged practice in anticipation of government scrutiny (¶ 430) and is

14 “free to return to [its] old ways” the moment Amazon believes it is safe to do so. Affordable Media,

15 179 F.3d at 1237.

16 V.       THE STATE LAW CLAIMS ARE PROPERLY PLEADED.

17          A. Amazon’s conduct violates state consumer protection statutes.

18          Amazon’s arguments for dismissing claims under Connecticut, New Jersey, Oklahoma,

19 Pennsylvania, and Rhode Island consumer protection statutes mischaracterize these States’ laws

20 and their allegations.

21          First, Amazon incorrectly asserts that all five States alleged “that Amazon engaged in

22 deceptive commercial practices.” (Mot. 21.) Only New Jersey, Oklahoma, and Pennsylvania raised

23 deception claims. (¶¶ 513, 522(c), 541-52.) However, all five states alleged that Amazon violated

24 their consumer protection statutes in multiple and distinct ways. See Okla. Stat. tit. 15, §§ 752(14),
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 1 753(20) (prohibiting unfair and deceptive trade practices); Conn. Gen. Stat. § 42-110b(a)

 2 (prohibiting unfair and deceptive practices as well as unfair methods of competition); 73 Pa. Cons.

 3 Stat. § 201-3(a) (same); R.I. Gen. Laws §§ 6-13.1-1(6), 6-13.1-2 (same); N.J. Stat. Ann. § 56:8-2

 4 (prohibiting deceptive or unconscionable commercial practices and misrepresentations); id. §

 5 56:8-4(b) (prohibiting commercial practices violating State or federal law). In particular,

 6 Amazon’s claim that unfairness and deception are identical in Connecticut, Pennsylvania, and

 7 Rhode Island is mistaken. See Connecticut v. Exxon Mobil Corp., 83 F.4th 122, 141 (2d Cir. 2023)

 8 (deception and unfairness claims are distinct); Commonwealth ex rel. Zimmerman v. Nickel, 26 Pa.

 9 D. & C.3d 115, 120, 139 (Pa. C.P. Mercer Cnty. 1983) (same, and statute reaches beyond antitrust

10 laws); Long v. Dell, Inc., 93 A.3d 988, 1000-01, 1003 (R.I. 2014) (distinct definitions of “unfair”

11 and “deceptive”). And courts liberally and broadly construe these statutes to effectuate their

12 underlying purposes. See Commonwealth v. Monumental Props., Inc., 329 A.2d 812, 817 (Pa.

13 1974); Soto v. Bushmaster Firearms Int’l, 202 A.3d 262, 298-99 (Conn. 2019); Long, 93 A.3d

14 at 1081; State ex rel. McCormac v. Qwest Commc’ns Int’l, 904 A.2d 775, 784-85 (N.J. Super. Ct.

15 App. Div. 2006); Patterson v. Beall, 19 P.3d 839, 846 (Okla. 2000).

16          Second, Amazon misconstrues the elements of deception claims in New Jersey, Oklahoma,

17 and Pennsylvania. It urges dismissal of these claims for failure to allege reliance or materiality,

18 but neither is required in government enforcement actions. See Cox v. Sears Roebuck & Co.,

19 647 A.2d 454, 462 (N.J. 1994) (reliance, intent, and harm not required); Leon v. Rite Aid Corp.,

20 774 A.2d 674, 680 (N.J. Super. Ct. App. Div. 2001) (materiality not required); Okla. Stat. tit. 15,

21 §§ 752(13) (prohibiting practices that “could reasonably be expected to deceive or mislead”); Hunt

22 v. U.S. Tobacco Co., 538 F.3d 217, 222 (3d Cir. 2008) (reliance requirement not applicable to

23 Pennsylvania Attorney General). Amazon also calls these claims “conclusory” (Mot. 21), but they

24 meet the applicable pleading standards. Talalai v. Cooper Tire & Rubber Co., 823 A.2d 888, 899
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 1 (N.J. Super. Ct. Law Div. 2001) (description of scheme sufficient; particulars of underlying

 2 conduct “matters of discovery”); Commonwealth ex rel. Corbett v. Peoples Benefit Servs., Inc.,

 3 895 A.2d 683, 689-90 (Pa. Commw. Ct. 2006) (same); Patterson, 19 P.3d at 848. Advertising best

 4 and lowest prices while artificially raising them—as with Project Nessie—constitutes deception.

 5 See, e.g., Leon, 774 A.2d at 680. As Amazon does not directly challenge New Jersey’s

 6 misrepresentation and unconscionable commercial practices allegations, per N.J. Stat. Ann. § 56:8-

 7 2, or all unlawful practices allegations (save as to the Sherman Act), per N.J. Stat. Ann. § 56:8-4,

 8 these claims must survive. (See ¶ 513.)

 9          Lastly, Amazon argues that Connecticut’s unfair methods claim “stands only upon its”

10 antitrust claims (Mot. 22), but Connecticut’s allegation that Project Nessie violated the

11 Connecticut Unfair Trade Practices Act (¶¶ 478, 482) does not require a violation of the Sherman

12 Act, the Connecticut Antitrust Act, the FTC Act, or any other statute. Indiaweekly.com, LLC v.

13 Nehaflix.com, Inc., 596 F. Supp. 2d 497, 506-07 (D. Conn. 2009).

14          B. The relevant state law claims are not territorially limited.

15          Amazon incorrectly argues that the phrase “within the state” or equivalent language in the

16 antitrust statutes of Maryland, New Jersey, and Oklahoma limits their territorial reach. (Mot. 22-

17 23.) The plain meaning of this phrase requires only that the challenged conduct affect markets

18 within these States; it does not preclude liability when markets outside these States are also

19 affected. See, e.g., California v. Infineon Techs. AG, 2008 WL 1766775, at *8 (N.D. Cal. Apr. 15,

20 2008). Here, Amazon’s anticompetitive conduct, though nationwide in scope, occurred in part or

21 had effects “within” these States.

22          Amazon’s cited cases do not support its argument. The Oklahoma antitrust statute at issue

23 in Young v. Seaway Pipeline, Inc., 576 P.2d 1148 (Okla. 1977), was repealed and replaced in 1998.

24 1998 Okla. Sess. Laws ch. 356. Oklahoma’s current statute reaches interstate commerce that
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 1 impacts Oklahoma. See D. Kent Meyers & Michael Barnett, Oklahoma’s New Antitrust Reform

 2 Act, 24 OKLA. CITY U. L. REV. 187, 204-05 (1999). Moreover, Seaway Pipeline addresses only

 3 whether Oklahoma state courts had subject matter jurisdiction over the particular claims in that

 4 case. 576 P.2d at 1150. Amazon also misreads State v. Lawn King, Inc., which does not limit New

 5 Jersey’s territorial reach and says it would be “absurd” to rule that state antitrust laws are federally

 6 preempted. 375 A.2d 295, 302 (N.J. Super. Ct. Law Div. 1977), rev’d on other grounds, 404 A.2d

 7 1215 (N.J. Super. Ct. App. Div. 1979). Finally, Amazon’s argument assumes that state and federal

 8 antitrust laws cannot overlap. To the contrary, the Supreme Court has held that both can reach the

 9 same conduct. See California v. ARC Am. Corp., 490 U.S. 93, 100 (1989) (upholding claims under

10 “both the Sherman Act and state antitrust Acts” and rejecting preemption). Moreover, given the

11 nature of the modern economy, a state antitrust statute limited to wholly intrastate conduct would

12 be “a dead letter.” Olstad v. Microsoft Corp., 700 N.W.2d 139, 157 (Wis. 2005). Amazon asks this

13 Court to effectively nullify state antitrust statutes without any basis for doing so.

14          C. Pennsylvania common law prohibits Amazon’s anticompetitive conduct.

15          Amazon’s argument that Pennsylvania common law does not proscribe monopolization

16 fails. Courts have long held that it does. See, e.g., In re Condemnation by Susquehanna Area Reg’l

17 Airport Auth., No. 2005-CV-1282-CN, Order at 1 (Pa. C.P. Dauphin Cnty. Aug. 14, 2006)

18 (attached as Exhibit A to Declaration of Tracy A. Wertz) (recognizing cause of action for attempted

19 monopolization (citing Schwartz v. Laundry & Linen Supply Drivers’ Union, Local 187, 14 A.2d

20 438, 440-41 (Pa. 1940) (monopolies violate common law))); P.C. Weist Co. v. Weeks, 35 A. 693,

21 693 (Pa. 1896) (monopolies “held by the common law to be against public policy”); Appeal of

22 Cumberland Valley R.R. Co., 62 Pa. 218, 222 (1869) (well-settled principles of law against

23 monopoly); FTC v. Shkreli, 581 F. Supp. 3d 579, 629 (S.D.N.Y. 2022) (upholding Sherman Act

24 and Pennsylvania common law claims).
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 1          D. New York’s Executive Law § 63(12) claim is not preempted.

 2          New York alleges that Amazon violated New York Executive Law § 63(12), which

 3 prohibits “persistent . . . illegality in the carrying on, conducting or transaction of business.” Courts

 4 recognize that “any conduct which violates state or federal law or regulation is actionable under

 5 Executive Law § 63(12).” Shkreli, 581 F. Supp. 3d at 627-28 (cleaned up, emphasis added).

 6 Amazon, arguing that FTC Act Section 5 preempts Section 63(12), erroneously assumes that the

 7 FTC’s exclusive jurisdiction over Section 5, precluding private actions under the same federal

 8 statute, somehow endows Section 5 with preemptive effect over different state statutes that

 9 independently authorize state law actions, such as Section 63(12). That is not the law; the FTC’s

10 exclusive jurisdiction over FTC Act claims has “never . . . been an obstacle to suits premised on

11 overlapping state statutes or on common law.” United States v. Philip Morris Inc., 263 F. Supp.

12 2d 72, 78 (D.D.C. 2003).

13          Amazon’s cases provide no support for its position. All deal with the lack of a private right

14 of action under Section 5 itself, saying nothing about Section 5 preempting state law. See

15 O’Donnell v. Bank of Am., Nat’l Ass’n, 504 F. App’x 566, 568 (9th Cir. 2013) (Section 5 “doesn’t

16 create a private right of action”); Carlson v. Coca-Cola Co., 483 F.2d 279, 280 (9th Cir. 1973)

17 (same for “private litigants”); Alfred Dunhill Ltd. v. Interstate Cigar Co., 499 F.2d 232, 237 (2d

18 Cir. 1974) (same for “competitors or consumers”). Even if a preemption argument were

19 appropriate, Amazon never offers its basic elements, failing to identify the type of preemption

20 present, whether express, field, or conflict. See, e.g., Altria Grp. v. Good, 555 U.S. 70, 76-77

21 (2008) (types of preemption).

22                                             CONCLUSION

23          Plaintiffs respectfully submit that the Court should deny Amazon’s motion to dismiss.

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 1 Dated: February 6, 2024
                                      I certify that this memorandum contains
 2                                    8,392 words, in compliance with the Local Civil Rules.

 3                                    Respectfully submitted,

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     OPPOSITION TO MOTION TO DISMISS - 28                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                     600 Pennsylvania Avenue, NW
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     OPPOSITION TO MOTION TO DISMISS - 29                       FEDERAL TRADE COMMISSION
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     OPPOSITION TO MOTION TO DISMISS - 30                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                     600 Pennsylvania Avenue, NW
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     OPPOSITION TO MOTION TO DISMISS - 31                      FEDERAL TRADE COMMISSION
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     OPPOSITION TO MOTION TO DISMISS - 32                       FEDERAL TRADE COMMISSION
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     OPPOSITION TO MOTION TO DISMISS - 33                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                     600 Pennsylvania Avenue, NW
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     OPPOSITION TO MOTION TO DISMISS - 34                       FEDERAL TRADE COMMISSION
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     OPPOSITION TO MOTION TO DISMISS - 35                       FEDERAL TRADE COMMISSION
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     OPPOSITION TO MOTION TO DISMISS - 36                       FEDERAL TRADE COMMISSION
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     OPPOSITION TO MOTION TO DISMISS - 37                       FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                     600 Pennsylvania Avenue, NW
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